                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NEW YORK


FULL CIRCLE UNITED, LLC,                             CASE NO. 1:20-CV-03395-BMC

                Plaintiff,

   v.

BAY TEK ENTERTAINMENT, INC.,

                Defendant.



BAY TEK ENTERTAINMENT, INC.,

                Counterclaim Plaintiff,

   v.

FULL CIRCLE UNITED, LLC,

                Counterclaim Defendant,

   and

ERIC PAVONY,

                Additional Counterclaim
                Defendant.


                             DECLARATION OF JEFFREY M. MOVIT

         I, Jeffrey M. Movit, pursuant to 28 U.S.C. § 1746, declare as follows:

         1.     I am a Partner, through my Professional Corporation, of the law firm Mitchell

Silberberg & Knupp LLP (“MSK”), which is counsel for Defendant/Counterclaim Plaintiff Bay

Tek Entertainment, Inc. (“Bay Tek”) in the above-captioned action. I submit this Declaration in

opposition to Full Circle United, LLC’s (“FCU”) Second Motion Seeking Leave to File a Third

Amended Complaint (ECF Doc. No. 148). I make the statements herein on personal knowledge.
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       2.      Annexed hereto as Exhibit 1 are true and correct copies of pages excerpted from

the transcript of the Deposition of Holly Hampton, in her individual capacity and as designated

representative of Bay Tek, taken in this matter on June 20, 22, and 30, 2022.

       3.      Attached hereto as Exhibit 2 is a true and correct copy of a document produced

by FCU entitled “Confidential Trademark License Agreement,” dated July 17, 2014, bearing

Bates numbers FCU000000052 through FCU000000074, marked as Exhibit 4 and authenticated

at the June 13, 2022 Deposition of Counterclaim Defendant Eric Pavony.

       4.      Attached hereto as Exhibit 3 is a true and correct copy of a document produced

by Bay Tek entitled “Consent to Assignment of Confidential Settlement Agreement,” dated

December 18, 2015, bearing Bates numbers BT0001594 through BT0001595.

       5.      Attached hereto as Exhibit 4 is a true and correct copy of a letter I sent to Jon R.

Fetterolf, Esq., dated September 23, 2020.

       6.      Annexed hereto as Exhibit 5 are true and correct copies of pages excerpted from

the transcript of the Deposition of Larry Treankler taken in this matter on July 12, 2022.

       7.      Attached hereto as Exhibit 6 is a true and correct copy of a document produced

by FCU entitled “Confidential Settlement Agreement,” dated July 17, 2014, bearing Bates

numbers FCU000000024 through FCU000000038.

       8.      Attached hereto as Exhibit 7 is a true and correct copy a redline comparison of

the initial proposed Third Amended Complaint filed by FCU (ECF Doc. No. 85-1) and the newly

proposed Third Amended Complaint filed by FCU as Exhibit A (ECF Doc. No. 148). This

redline was created with comparison software by the staff of Mitchell Silberberg & Knupp LLP

working under my direction and supervision.




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       9.      Attached hereto as Exhibit 8 is a true and correct copy a redline comparison of

the operative Second Amended Complaint, dated November 14, 2020 (ECF Doc. No. 52) and the

newly proposed Third Amended Complaint filed by FCU as Exhibit A (ECF Doc. No. 148). This

redline was created with comparison software by the staff of Mitchell Silberberg & Knupp LLP

working under my direction and supervision.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



                                           /s/ Jeffrey M. Movit
                                           JEFFREY M. MOVIT
                                           Executed on January 3, 2023
                                           New York, NY




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